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UNITED STATE_S BANKRUPTCY COURT

EASTERN DISTRICT OF NEW YORK

__________________________________________________________ X

In Re: Chapter 7

Elissa J. Siony a/k/a Elissa Joy Siony, Case No. 818-78093~735
Debtor.

__________________________________________________________ X

Application in Support of Order Authorizing Retention of
Weinber,q, Gross & Pergament LLP as Attornevs for Trustee

TO: The Honorable Alan S. Trust,
United States Banl<ruptcy Judge

The Application of l\/Iarc A. Pergament, Trustee of the Debtor herein, respectfully
represents as follows:

l. On or about December 3, 2018, the Debtor filed a petition under Chapter 7
of the Banl<ruptcy Code. Marc A. Pergament Was appointed lnterim Trustee, duly qualified and has
acted in said c-apacity.

2. Pursuant to Section 327 of the Banl<ruptcy Code and Local Rule 18, the
Trustee has selected and, subject to this Court’s approval, authorized the employment of the firm of
Weinberg, Gross & Pergament LLP (“Weinberg, Gross”) as his counsel to represent him and assist
him in connection With this Chapter 7 case.

3. The Trustee has selected said attorneys because they have had experience in
Chapter 7 cases, and the Trustee believes that said firm of attorneys is Well qualified to represent
him in this case.

4. The professional services Which said attorneys are to render are the general

representation of the Trustee in this case under Title ll, United States Code, and the performance of

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such legal services for him Which may be necessary herein, including pursuing fraudulent and/or
preferential transfers and possible objection to discharge

5 . The Trustee Will require the services of at least one attorney to perform such
legal services Which may be necessary herein.

6. To the best of the Trustee’s knowledge, information and belief, Weinberg,
Gross has no connection With the Debtor, her creditors or any other party in interest or her
respective attorneys or accountants

7. To the best of the Trustee’s knowledge, information and belief, Weinberg,
Gross does not hold or represent any interest adverse to the Debtor or her Estate and is a
disinterested person under Section 101 of the Banl<ruptcy Code.

8. The Trustee desires to retain WeinbergJ Gross under a general retainer
because of the extensive legal services that will be required

9. The employment of said attorneys Would be in the best interest of this Estate.

10. No previous application for the relief requested herein has been made in this
cr any other court.

WHEREFORE, the Trustee respectfully requests that it be authorized to employ
and retain the firm of Weinberg, Gross & Pergament LLP, under a general retainer, to represent
him in this case under Chapter 7 of the Bankruptcy Code, and that he have such other and further
relief as this Court may deem just.

Dated: Garden City, New York
January 17, 2019

 

Marc A. Pergament, Trustee

